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F’|aintiff,
v. No. 06-2409 BD

GENERAL l\/|OTORS CORPORAT|ON,
and RAY CHEVROLET, lNC.,

Defendants.

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CONSENT ORDER OF WlTHDRAWAL AND
SUBSTITUT|ON OF COUNSEL

 

Upon consent of all the parties, attorney Joel Giddens requests permission to
withdraw as counsel of record for the Defendant Ray Chevrolet, lnc. and Tim Wade
Hellen ot Farris l\/lathews Branan Bobango Hellen & Dunlap PLC requests
permission to be allowed to substitute as counsel of record for the said Defendant
Ray Chevrolet, |nc.

lt is, therefore, ORDERED, ADJUDGED AND DECREED, that Tim Wade
Hellen of Farris |V|athews Branan Bobango Hellen & Dunlap PLC be and they are
hereby substituted as counsel of record for the Defendant Ray Chevrolet, lnc. and
Joel Giddens be and he is hereby allowed to withdraw as counsel of record for said
Defendant and in the future it will not be necessary to serve Joel Giddens with notice

of materials filed in this cause.

Enteredthis £QL` day or y~{iyul;l ,2005_

This document entered on the docket sheet in coi?iance

with Flu|e 58 and/or 79(3) l'-'HGP on 2 ' 3 6//

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ttorney for P|aintitf /

Tim Wade Hellen 7

Attorney for Ray Chevrolet, |nc.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02409 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

